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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

 BLUE SKY INNOVATION GROUP, INC.,                 )
                                                  )
               Plaintiff,                         )
                                                  )
        v.                                        )    C.A. No. 23-129-MN
                                                  )
 FORCOME CO., LTD., AMERICAN                      )    JURY TRIAL DEMANDED
 OUTDOOR BRANDS, INC., and THE                    )
 SAUSAGE MAKER, INC.,                             )
                                                  )
               Defendants.                        )

       PROPOSED ORDER GRANTING FORCOME (SHANGHAI) CO., LTD.’S
             MOTION TO INTERVENE AS A PARTY DEFENDANT

       This cause came before the Court upon the Motion to Intervene and Memorandum in

support of same by Forcome (Shanghai) Co., Ltd. (“Forcome Shanghai”). Said motion is well-

taken and hereby granted. It is therefore ORDERED AND DECREED that the Clerk is to add

Forcome Shanghai as a defendant to this action.

                                                      IT IS SO ORDERED

                                                      __________________________________
                                                      Judge Maryellen Noreika
